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                                                                    EXHIBIT 1


               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                         EASTERN DIVISION
 JUSTIN JOHNSON,

         PLAINTIFF,

 VS.
                                                         Case No.: 3:22-cv-00336-RAH-JTA
 WAAWAATESI LLC, D/B/A
 GREENLINE LOANS ET AL,

         DEFENDANTS.

                            DECLARATION OF JUSTIN JOHNSON

         Before me, the undersigned authority, personally appeared JUSTIN JOHNSON who,

after being duly sworn, did depose and say under oath as follows:

         1.      I am over the age of nineteen (19) years and have personal knowledge of the matters

stated herein.

         2.      I live in Phenix City, Alabama with my wife Sabrina Musulin and our 3 children.

I work in the auto parts retail industry.

         3.      In 2020 and 2021 my family income was drastically reduced as a result of the

COVID-19 pandemic. In August 2021, we were having trouble keeping up with our bills and I

was in the need of cash.

         4.      I searched the internet for small loan lenders available to me and I was directed to

a website offering small loans through the internet with easy application and approval process. I

provided my basic information, including my address and my banking information. My bank

account was with Wells Fargo in Phenix City at that time. I was asked to verify this information,

which I did. I asked for a loan for around $1,200. I was informed that I was approved for a $300

loan.

         5.      After I was approved, I was directed to what I now understand is Greenline’s
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website. The website prompted me to check a series of boxes and provide my electronic signature.

I do not remember viewing an actual agreement, but I do remember being asked if I accept the

loan terms. I do not remember being provided a prompt that would allow me to view the actual

contract. When I checked a box, I was prompted directly to the next signature box. I do not

remember being shown the actual contract or being allowed to scroll through the actual language.

       6.      By the time I was offered the loan, I had provided my Alabama address, so the

lender knew I was in Alabama. I assumed that the loan I was receiving was from a lender which

was authorized to lend in Alabama and I assumed I had the same protections I would have with

any other loan in Alabama. I assumed the loan was legal.

       7.      I was never provided an option to accept the loan without agreeing to all of the

terms in the contract. I am somewhat familiar arbitration agreements. I worked in the auto sales

business, and it is my understanding from that experience that nearly all consumer sales and loan

agreements in Alabama contain arbitration agreements. At the same time, I assume that any

arbitration agreement would preserve my legal rights, even if I had to pursue them in arbitration

rather than in court.

       8.      Every action I took in connection with this loan was done by me in Alabama. The

proceeds were electronically deposited into my Alabama bank account. I believe I made one or

two payments on the loan and those payments were made electronically from my Alabama

account.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and recollection.

       DATED: ________________________



                                                    JUSTIN JOHNSON

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